Case 8:19-cv-00772-VMC-JSS Document 137-20 Filed 02/07/20 Page 1 of 7 PageID 3046




      EXHIBIT J
Case 8:19-cv-00772-VMC-JSS Document 137-20 Filed 02/07/20 Page 2 of 7 PageID 3047
Case 8:19-cv-00772-VMC-JSS Document 137-20 Filed 02/07/20 Page 3 of 7 PageID 3048
Case 8:19-cv-00772-VMC-JSS Document 137-20 Filed 02/07/20 Page 4 of 7 PageID 3049
Case 8:19-cv-00772-VMC-JSS Document 137-20 Filed 02/07/20 Page 5 of 7 PageID 3050
Case 8:19-cv-00772-VMC-JSS Document 137-20 Filed 02/07/20 Page 6 of 7 PageID 3051
Case 8:19-cv-00772-VMC-JSS Document 137-20 Filed 02/07/20 Page 7 of 7 PageID 3052
